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                                   UNITED STATES COURT OF APPEALS
                                        FOR THE NINTH CIRCUIT

                                          Form 7. Mediation Questionnaire
                   Instructions for this form: https://www.ca9.uscourts.gov/forms/form7instructions.pdf

              9th Cir. Case Number(s) 24-880
              Case Name Center for Investigative Reporting v. U.S. Department of Labor
                                                       Joshua M. Koppel
              Counsel submitting this form
                                                  U.S. Department of Labor
              Represented party/parties
              Briefly describe the dispute that gave rise to this lawsuit.
               Plaintiffs filed a Freedom of Information Act (FOIA) request seeking EEO-1
               reports submitted by federal contractors from 2016 through 2020. The U.S.
               Department of Labor withheld the reports of approximately 4,800 contractors
               after the contractors objected to their release and the Department determined that
               those reports are exempt from disclosure under FOIA Exemption 4.




                                Feedback or questions about this form? Email us at forms@ca9.uscourts.gov
              Form 7                                                                                        Rev. /01/
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              Briefly describe the result below and the main issues on appeal.
               The district court held that the EEO-1 reports of five bellwether contractors do
               not contain commercial information and therefore do not fall within FOIA
               Exemption 4. The question presented on appeal is whether FOIA Exemption 4
               permits the Department of Labor to withhold EEO-1 reports of federal
               contractors.




              Describe any proceedings remaining below or any related proceedings in other
              tribunals.
               The district court ordered the Department of Labor to disclose certain EEO-1
               reports. The Department has filed a motion for a stay pending appeal, which is
               currently pending in the district court. In addition, the district court will still
               need to decide whether the Department must disclose certain other EEO-1
               reports.




              Signature /s/ Joshua M. Koppel                                          Date 2/26/2024
              (use “s/[typed name]” to sign electronically-filed documents)


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